Case 3:10-cr-00164-DRD         Document 289       Filed 01/20/11     Page 1 of 2



                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,                          *       CRIMINAL NO. 10-164(DRD)
                                                   *
        Plaintiff,                                 *
                                                   *
v.                                                 *
                                                   *
[19] GABRIEL LUGO-MALDONADO,                       *

       Defendant.                                  *




         AMENDED ORDER APPROVING MAGISTRATE-JUDGE’S
      REPORT AND RECOMMENDATION RE: RULE 11 PROCEEDINGS


       The Court has evaluated the Magistrate-Judge’s Report and Recommendation of the

Rule 11 proceedings regarding defendant GABRIEL LUGO-MALDONADO is contained in

the Report and Recommendation dated December 27, 2010, (Docket No. 270).

       The principal consideration is whether that plea was knowingly, voluntary and

intelligently made within the terms of Rule 11, United States v. Isom, 85 F. 3d 831, 835-837

(1st Cir. 1996). In order to ascertain whether defendant made a knowingly, voluntary and

intelligent plea, the Court of Appeals of the First Circuit has identified three core concerns:

absence of coercion, defendant’s understanding of the charges and the defendant’s

knowledge of the consequences of the guilty plea. United States v. Gray, 63 F. 3d 60-61,

(1st Cir. 1995), United States v. Cotal Crespo, 47 F. 3d 1, 4 (1st Cir.) cert. denied 516 U.S.

827, 116 S. Ct. 94 (1995).

       The Court in examining the three core concerns must “review the totality of the

circumstances surrounding the Rule 11 hearing, rather than apply a ‘talismatic test’,” United

States v. Cotal Crespo, 47 F. 3d at 4-5.

       The Court having examined the Report and Recommendation of the Magistrate

Judge finds that the plea was knowingly, voluntary and intelligent as understood in the
Case 3:10-cr-00164-DRD      Document 289      Filed 01/20/11      Page 2 of 2



terms of Rule 11. The plea of GABRIEL LUGO-MALDONADO is accepted and the

defendant is adjudged guilty as to Count One of the indictment.

      IT IS SO ORDERED.

      At San Juan, Puerto Rico, this 20th day January 2011.



                                               s/ Daniel R. Domínguez
                                               DANIEL R. DOMINGUEZ
                                               U.S. DISTRICT JUDGE
